    Case 4:21-mj-00091-KPJ
                     IN THE Document 2 FiledDISTRICT
                            UNITED STATES    02/02/21 COURT
                                                       Page 1 of 1 PageID #: 12
                      FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISON

                                                 §
 UNITED STATES OF AMERICA                        §
                                                 §    NO. 4:21 MJ-091
 v.                                              §
                                                 §
                                                 §
 JASON LEE HYLAND                                §

                          ENTRY OF APPEARANCE OF COUNSEL

x      I wish to enter my appearance as retained counsel for the above-named defendant(s) in
       this cause.

      I hereby enter my appearance as appointed counsel for the above-named defendant(s) in
       this cause.

       I understand that it is my duty to continue to represent the above-named defendant(s) in
       connection with all matters relating to this cause, and in connection with all proceedings
       therein in this Court; to assist the defendant(s) with any appeal which the defendant(s)
       desires to perfect, and to represent the defendant(s) on appeal until a final judgment has
       been entered; unless and until, after written motion filed by me, I am relieved by Order of
       the Court.

In all cases an arraignment is scheduled promptly after the return or filing of an indictment or
information, at which time the defendant must enter a plea. Your attention is directed to Rule 12,
Federal Rules of Criminal Procedure, pertaining to pretrial motions.

Dated: February 2, 2021
                                                                            /s/ Reed Prospere
                                                                                Signature of Attorney


                                                                                   Reed Prospere
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